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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

BENCH WALK LIGHTING LLC,                §
                                        §
                Plaintiff,              §
                                        §
    v.                                  §   CIVIL ACTION NO. 18-1732-RGA
                                        §
OSRAM SYLVANIA, INC.; OSRAM             §
LICHT AG; OSRAM GMBH; OSRAM             §
OPTO SEMICONDUCTORS GMBH                §
& CO.; OSRAM OPTO                       §
SEMICONDUCTORS, INC.;                   §
LEDVANCE GMBH; LEDVANCE LLC;            §
LED ENGINE, INC.,                       §
                                        §
                Defendants.             §

   PLAINTIFF BENCH WALK LIGHTING’S RESPONSE TO DEFENDANTS OSRAM
SYLVANIA, INC.’S, OSRAM OPTO SEMICONDUCTORS, INC.’S, AND LEDVANCE LLC’S
   PARTIAL MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                      PURSUANT TO FED. R. CIV. P. 12(B)(6)



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I.     INTRODUCTION

       Plaintiff Bench Walk Lighting LLC’s (“Plaintiff”) First Amended Complaint (D.I. 13;

“FAC”) properly pleads in detail direct, indirect, and willful infringement of each of the 14 patents-

in-suit, containing over 100 paragraphs of allegations in 14 element-by-element analyses,

including annotated photographs and diagrams. In response, Defendants simultaneously filed an

Answer (D.I. 16) and a Partial Motion to Dismiss (the “Motion”) (D.I. 14) that is based on flawed

interpretations of law, including cases that have been overruled. Nonetheless, Plaintiff has notified

Defendants that it intends to file a Motion for Leave to submit a Second Amended Complaint

(“SAC”) with even more factual support, thereby eliminating any possible concerns that

Defendants may legitimately have. An explanation of how the SAC addresses these potential

concerns is set forth in the footnotes herein. Accordingly, Defendants’ Motion should be denied.

II.    DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED AS MOOT

       Defendants mooted their Motion by filing an Answer (D.I. 16) at the same time. Federal

Rule 12(b) requires that “[a] motion asserting any of these defenses must be made before pleading

if a responsive pleading is allowed.” F.R.C.P. 12(b) (emphasis added). As this Court has held,

“[w]hen an answer is filed prior to the resolution of a motion to dismiss, the motion to dismiss

becomes moot.” Telebrands Corp. v. 1ByOne Products Inc., No. 17-997-SRF, 2017 WL 5593785,

at *4 (D. Del. Nov. 21, 2017); Smith v. Bank of America, N.A., No. 12-724, 2014 WL 897032, at

*22 (M.D. Fla. Mar. 6, 2014) (“An Answer filed contemporaneously with the filing of a Motion

to Dismiss renders the motion moot and makes it ‘procedurally impossible for the Court to rule on

the motion to dismiss.’”) (emphasis added). This is not a situation where Defendants’ Motion

touches on only some of the Counts in Plaintiff’s complaint. By seeking dismissal of all allegations

of willful and indirect infringement, Defendants’ Motion addresses all 14 Counts in Plaintiff’s
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FAC. If the Court agrees, there is no need to read further. Nonetheless, Plaintiff still requests

leave to submit its SAC, as it further elaborates on Defendants’ infringements.

III.   DIRECT INFRINGEMENT

       To sufficiently plead direct infringement, a plaintiff need only allege sufficient facts to

show a reasonable inference that a defendant “without authority makes, uses, offers to sell, or sells

any patented invention, within the United States or imports into the United States any patented

invention during the term of the patent.” 35 U.S.C. § 271(a). “Under Twombly and Iqbal, the use

of exemplary pleading of claims is sufficient to satisfy Rule 12(b)(6).” Promos Techs., Inc. v.

Samsung Elecs. Co., No. 18-307-RGA, 2018 WL 5630585, at *2 (D. Del. Oct. 31, 2018).

Similarly, “under Twombly and Iqbal, pleading an exemplary product is sufficient to satisfy Rule

12(b)(6).” Id. at *4. Thus, providing “specific examples of at least one product [a defendant]

manufactures or sells that contains mechanisms or processes performing the identified functions,

and specific examples of the class of products which also contain” those functions is sufficient to

satisfy the pleading requirements under Rule 12(b)(6). Philips v. ASUSTeK Computer Inc., No.

15-1125-GMS, 2016 WL 6246763 at *4 (D. Del. Oct. 25, 2016).

       A.      THE FAC PROPERLY PLEADS DIRECT INFRINGEMENT

       A complaint must contain factual allegations sufficient to put the defendant on notice of

the nature of the claims. Defendants surely know this, yet repeatedly complain that the FAC does

not prove Plaintiff’s allegations. That is not the law. Indeed, the Federal Circuit recently noted

that a complaint does not have to plead facts establishing “each element” of an asserted claim or

provide “evidentiary support” to prove its case:

         Nalco need not “prove its case at the pleading stage.” Bill of Lading, 681 F.3d
         at 1339 (citing Skinner, 562 U.S. at 529-30, 131 S.Ct. 1289). The complaint
         must place the “potential infringer ... on notice of what activity ... is being
         accused of infringement.” K-Tech, 714 F.3d at 1284.



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         Nalco’s pleading clearly exceeds the minimum requirements under Rule
         12(b)(6), especially as “the Federal Rules of Civil Procedure do not require a
         plaintiff to plead facts establishing that each element of an asserted claim is
         met.” Bill of Lading, 681 F.3d at 1335. The district court's failure to credit these
         allegations as true is reversible error.

Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1350 (Fed. Cir. 2018) (some citation omitted)

(emphasis added). Claim charts or detailed infringement contentions are not required. N. Star

Innovations, Inc. v. Micron Techs., Inc., No. 17-506-LPS, 2017 WL 5501489, at *3 (D. Del. Nov.

16, 2017). The mere allegation “that the accused products meet ‘each and every element of at least

one claim of the [patents-in-suit], either literally or equivalently’” is sufficient. Disc Disease Sols.

Inc. v. VGH Sols., Inc., 888 F.3d 1256, 1260 (Fed. Cir. 2018). In Disc Disease, like in the case

sub judice, the supporting factual allegations included identification of the accused products, as

well as corresponding photos. Id. The Federal Circuit held that this was “enough to provide VGH

Solutions fair notice of infringement of the asserted patents.” Id.

        Plaintiff’s FAC identifies an exemplary accused product and at least one infringed claim

from each patent. The FAC goes beyond the minimal pleading requirements by providing element-

by-element analyses of infringement for each claim including diagrams, photos, and explanatory

text to provide further notice of infringing products. Despite all this, Defendants complain that in

seven of Plaintiff’s 14 counts, the allegations of direct infringement fail to include sufficient factual

allegations to show that at least one identified product infringes each limitation of at least one

claim of each asserted patent. Defendants’ Opening Brief in Support of Their Partial Motion to

Dismiss (“DOB”) (D.I. 15) at 12. Defendants are wrong.1




1
  Defendants’ baseless assertion that Plaintiff did not perform an adequate pre-suit investigation
is also specious and false. DOB at 3 n. 4.


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                1.     Count 1 (’524 patent)

       Defendants argue that the pictures contained in the claim chart are of different products

than those accused of infringement and therefore do not provide “evidence…to demonstrate”

infringement as to all elements of the claim. DOB at 15. Defendants are incorrect. The “OSTAR

Headlamp Pro” and the “OSLON Black Flat S” are very similar products, both accused of

infringement.    FAC at ¶ 31 (“Exemplary infringing instrumentalities include the OSTAR

Headlamp Pro series and other substantially similar products”). While both products are accused,

the FAC uses the “OSTAR Headlamp Pro” as an example of infringement and explains how the

“OSTAR Headlamp Pro” alone meets all elements of claim 1 of the ’524 patent. FAC at ¶¶ 31-35

(emphasis added). The allegations of infringement in ¶¶ 34-35 recite “OSTAR Headlamp Pro”

and show how it meets each and every limitation of claim 1 using supporting images. The

inclusion of pictures of other infringing products in addition to the allegations to the “OSTAR

Headlamp Pro” does not otherwise undermine the sufficiency of this pleading. The SAC contains

additional allegations directed to Defendants’ concerns.2

                2.     Count 2 (’658 patent)

       In Count 2, Defendants point to Plaintiff’s allegations of a “photocurable medium” which

“sets upon exposure to light of a curing wavelength” and “sets in a time less than that required for

a change in concentration of said phosphor in said phosphor layer over said LED of more than 0.5

percent.” DOB at 19. Defendants’ complain that this is insufficient notice pleading because it

does not provide evidence that the LED is cured within the specified time period, but a recital of




2
  Plaintiff’s proposed SAC provides additional diagrams, photos, and explanatory text concerning
the OSTAR Headlamp Pro. It also removes exemplary pictures of related products and shows how
this Accused Product meets all elements of claim 1, thereby eliminating any legitimate concern
that Defendants may have about Count 1. SAC at ¶¶ 81-83.


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evidence is not required for each and every limitation. Nalco, 883 F.3d at 1350. This particular

limitation is directed to a non-public, secret manufacturing process. Plaintiff plausibly alleges that

the “photo-curable medium sets in a time less than that required for a change in concentration of

said phosphor in said phosphor layer over said LED of more than 0.5 percent.” FAC at ¶ 55, 56.

That factual allegation must be taken as true. The SAC contains additional allegations directed to

Defendants’ concerns.3

       Defendants are well aware of the curing time in their own manufacturing process and have

sufficient information to investigate Plaintiff’s claims of infringement. Where the information

needed to eventually prove infringement is not publicly available, i.e., it either rests solely in the

hands of the accused infringer or is subject to an obligation of confidentiality, courts permit

plaintiffs to allege facts “upon information and belief.” See Fed. R. Civ. P. 11(b)(3); McDermott

v. Clondalkin Grp., Inc., 649 F. App’x 263, 267-268 (3rd Cir. 2016).

       This Court, for example, concluded that “given that [Defendant] would be the actual source

of the requisite factual information… the proposed second complaint contain[ed] sufficiently

detailed allegations (1) to plausibly give rise to a claim for inducement of patent infringement, and

(2) to give [Defendant] fair notice of such claim.” Takeda Pharm. U.S.A., Inc. v. West-Ward

Pharm. Corp., No. 14-1268-SLR, 2016 WL 7230504 at *2 (D. Del. Dec. 14, 2016). Similarly,

this Court held that the allegation that “[o]n information and belief, [Defendant] has or will have

knowledge . . . [of a non-public process that] would result in the sale and/or use of an infringing




3
  The SAC sets forth additional factual support that “photo (UV) curing is a dominant technique
for encapsulant curing and provides significant benefits versus heat curing” and that “minimizing
the change in concentration of the phosphor in a phosphor layer over an LED to less than 0.5
percent via expedient photo-curing is a dominant technique for encapsulant curing and provides
significant benefits” based on citations to technical literature. SAC at ¶¶ 112, 113.


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article” was sufficient to withstand a motion to dismiss. Merck Sharp & Dohme Corp. v. Teva

Pharm. USA, Inc., No. 14-874-SLR, 2015 WL 4036951 at *7 (D. Del. Jul. 1, 2015).

       Moreover, a “defendant cannot shield itself from a complaint . . . by operating in such

secrecy that the filing of a complaint itself is impossible.” K-Tech Telecommunications, Inc. v.

Time Warner Cable, Inc., 714 F.3d 1277, 1286 (Fed. Cir. 2013). This Court has specifically

accepted pleading based “upon information and belief” for secret methods. See DermaFocus LLC

v. Ulthera, Inc., 201 F.Supp.3d 465, 473 (D. Del. 2016). Accordingly, Plaintiffs pleading on

information and belief is sufficient.    The SAC contains additional allegations directed to

Defendants’ concerns.4

               3.     Count 3 (’428 patent)

       Defendants challenge as insufficient Plaintiff’s allegations regarding “irradiating said

dispensed mixture… in a time period that is less than the time period in which said phosphor

particles settle wherein said time period is less than 1 second.” DOB at 17-18. Defendants

complain that Plaintiff’s pleading does not provide evidence of a secret step used to make the

Accused Product. Defendants’ secret manufacturing process is uniquely within Defendants’

knowledge. Plaintiff’s allegation that the element “irradiating said dispensed mixture in a time

period that is less than the time period in which said phosphor particle settle wherein said time

period is less than 1 second” is both plausible and must be taken as true. FAC at ¶ 76. The SAC

contains additional allegations directed to Defendants’ concerns.5



4
  The proposed SAC further clarifies this allegation and specifically identifies the basis for
Plaintiff’s allegations using industry literature. SAC at ¶¶ 112, 113.
5
  The proposed SAC identifies that it is based upon information and belief supported by industry
literature indicating that “curing the phosphor mixture via irradiation to minimize the time period
in which phosphor particles settle is a dominant technique and provides significant benefits.” SAC
at ¶ 143.


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       Defendants also feign confusion and complain that the pictures in the claim chart are of

different products than that accused of infringement, so consequently, the chart does not provide

“evidence…to demonstrate” infringement as to all elements of the claim.            DOB at 16-17.

Defendants are incorrect. The Accused Product is the “Duris S5” white LED. The FAC clearly

shows how this product meets all elements of claim 1 of the ’428 patent. FAC ¶¶ at 72-76.

Defendants argue that Plaintiff’s allegations use three different products because the FAC’s

diagrams evidencing infringement are of three different LEDs having three different lead frames.

DOB at 17. However, the source of the diagrams referenced in FAC ¶ 74 and ¶ 76 is a whitepaper

provided on Defendants’ website for the “Duris S5.” Defendants’ whitepaper specifically states:

“This application note provides information on the chemical compatibility of certain substances

with LEDs, particularly with regard to some of their basic components. In this context, the main

mechanisms of chemical incompatibility are illustrated using examples of blue and white LEDs.”

Thus, Defendants’ own materials establish that the “Duris S5” is a white LED, and the diagrams

used in the FAC are applicable to the “Duris S5” Accused Product. The SAC contains additional

allegations directed to Defendants’ concerns.6 Plaintiff has averred that all elements are present,

which must be accepted as true on a motion to dismiss, and has satisfied the pleading requirements.

               4.      Count 4 (’182 patent)

       As above, Defendants argue that Plaintiff’s allegations regarding “a molded encapsulation

layer wherein said molded encapsulation layer is shaped to direct light emitted by said emitter

[and] reduces a difference in beam divergence between a fast-axis and a slow-axis” are insufficient.

DOB at 18. They argue that the pictures contained in the claim chart are of different products than



6
 The proposed SAC specifically includes the allegation that the diagrams used in the FAC are
applicable to the “Duris S5” white LED. SAC at ¶ 141.


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those accused of infringement, thus the chart does not provide “evidence…to demonstrate”

infringement as to all elements of the claim. DOB at 18 - 19. Once again, Defendants are incorrect.

The Accused Product is the “LV W5AM”. The FAC clearly shows how this product meets all

elements of claim 1 of the ’182 patent. FAC at ¶¶ 91-98.

       Defendants also argue that the FAC annotates a diagram of a different product to show

infringement. DOB at 18. The source of the diagram referenced in FAC ¶¶ 94-97 is a whitepaper

provided on Defendants’ website for the “LV W5AM” Accused Product. Defendants’ whitepaper

specifically represents that this diagram is applicable to the Accused Product: “Valid for: all

OSRAM Opto Semiconductors LEDS.” The SAC contains additional allegations directed to

Defendants’ concerns.7 Since Plaintiff has averred all elements are present, which must be

accepted as true, it has met the pleading requirements.

               5.     Count 8 (’287 patent)

       Defendants assert Plaintiff’s allegations relating to Count 8 are deficient because it has

failed to provide “evidence” containing the word “diffract.” DOB at 19. Again, evidence is not

required at the pleading stage—only factual allegations. Nalco, 883 F.3d at 1350. Nonetheless,

the FAC identifies optical components that result in a rectangular radiation pattern in the OSLUX

LED regarding this claim element and cites extensive evidence, including multiple pictures. FAC

at ¶ 188 (and related graphic). The complaint clearly pleads: “OSLUX LED comprises a

diffractive optical element optically coupled to said light source” and the “OSLUX LED comprises

and integrated lens that focuses the light to narrow the viewing angle prior to the light being




7
 The proposed SAC specifically includes the allegation that the diagrams used in the FAC are
applicable to the “LV W5AM” LED. SAC at ¶ 170.


                                                8
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diffracted by the diffractive optical element.” FAC at ¶ 188-189 (emphasis added). The SAC

contains additional allegations directed to Defendants’ concerns.8

               6.      Count 10 (’644 patent)

       Plaintiff provided very detailed factual allegations regarding infringement of Count 10.

Nonetheless, Defendants imply that the “purported images” of the SFH 4356 in the FAC are

insufficient, but stop short of claiming the images do not depict the accused product. DOB at 20.

Defendants argue that using an image of an accused product, including annotations to identify

which parts are alleged to correspond to claim elements, is insufficient, but they provide no case

law supporting their argument. To the contrary, this Court has recognized that a complaint

specifically identifying all accused products by name and with attached photos is sufficient.

Promos Techs., 2018 WL 5630585 at *4.

       Defendants further argue that the FAC provides insufficient detail regarding “physically

connecting the line of first leads to the line of second leads with a rail [in the specified manner].”

DOB at 20. As explained in the allegations, the physical structure depicted in the photos of the

products establish these particular manufacturing elements. FAC ¶228 - 236. To the extent that

they do not, the manufacturing processes of these products are secret and within Defendants’

control, and Plaintiff’s allegations are sufficient. K-Tech, 714 F.3d 1277 at 1286. The SAC

contains additional allegations directed to Defendants’ concerns.9




8
  The proposed SAC further clarifies this allegation and identifies additional optical lenses
regarding this claim element. SAC at ¶ 301 (and related graphic).
9
  The proposed SAC further clarifies this allegation and specifically identifies the basis for
Plaintiff’s allegation based upon information and belief. SAC at ¶ 358 (and related graphic).


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               7.      Count 14 (’338 patent)

        Defendants challenge Count 14 based on the “printed circuit board” element in a separate

communication because the accused product is allegedly mounted on a ceramic substrate, not a

“printed circuit board.” DOB at 20. This argument fails, however, because it concerns claim

construction of the term “printed circuit board”—not whether the FAC adequately alleges a

“printed circuit board” in the accused product. Questions about proper claim construction are not

relevant to the sufficiency of the pleadings. Merck, 2015 WL 4036951 at *7 (declining “to engage

in a fact-finding analysis regarding the merits of [Plaintiff’s] theory of liability at the pleadings

stage.”).

IV.     INDIRECT INFRINGEMENT

        To sufficiently plead induced infringement, “the patentee ‘must show direct infringement,

and that the alleged infringer knowingly induced infringement and possessed specific intent to

encourage another’s infringement.’” M2M Sol’ns LLC v. Telit Comm’s PLC, No. 14-1103-RGA,

2015 WL 4640400, at *4 (D. Del. Aug. 5, 2015); In re Bill of Lading, 681 F.3d 1323, 1339 (Fed.

Cir. 2012). “To sufficiently plead the ‘knowingly induced’ element, the complaint must allege the

defendant had knowledge of the patent and knew that the induced acts constituted patent

infringement.” FO2GO LLC v. KeepItSafe, Inc., No. 18-807-RGA, 2019 WL 1615398, at *3 (D.

Del. Apr. 16, 2019). “[D]irect evidence is not required; rather, circumstantial evidence may

suffice.” MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378

(Fed. Cir. 2005). Indeed, the Supreme Court has held that “[e]vidence of ‘active steps... taken to

encourage direct infringement,’ such as advertising an infringing use or instructing how to engage

in an infringing use, shows an affirmative intent that the product be used to infringe.” MGM Studios

Inc. v. Grokster, Ltd., 545 U.S. 913, 936 (2005). The FAC meets this standard.




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        A.     THE FAC SUFFICIENTLY ALLEGES INDIRECT INFRINGEMENT BY PLAUSIBLY
               ALLEGING KNOWLEDGE, SPECIFIC INTENT, AND DIRECT INFRINGEMENT FOR
               EACH COUNT

        Defendants argue that Plaintiff’s induced infringement claims should be dismissed because

the FAC “does not include facts alleging that Defendants had knowledge that its customers would

infringe, committed specific acts to induce others to infringe, [and] had the specific intent to induce

infringement.” DOB at 4.       Defendants are wrong.       The FAC adequately alleges both that

Defendants knowingly induced infringement and their specific intent to encourage their customers

to infringe.

        Defendants assert that “Plaintiff’s induced infringement allegations consists solely of two

paragraphs” and that “provid[ing] unspecified guides and support materials” do not support a claim

of induced infringement. DOB at 5. This is not a numbers game; general allegations are sufficient

to support a claim of induced infringement. M2M, 2015 WL 4640400, at *4. Moreover, the FAC

contains far more than just “two paragraphs.” Plaintiff describes at least 14 products (or products

made by infringing processes) that, when used by Defendants’ customers in the United States,

constitute a direct infringement of each of the 14 patents. FAC at ¶¶ 31-35, 50-56, 72-76, 91-98,

114-120, 140-147, 161-167, 184-189, 206-212, 227-236, 251-257, 273-281, 302-311, 329-336.

Plaintiff further alleges that these products have no substantial non-infringing uses. FAC at ¶¶ 43,

62, 82, 104, 128, 153, 175, 197, 217, 242, 265, 289, 316, 341. The numerous paragraphs

explaining how these products infringe detail specific acts of inducement of infringement by

Defendants and direct infringement by their U.S. customers. For each of the 14 asserted patents,

Plaintiff further alleges that Defendants provide data sheets, technical guides, demonstrations,

software and hardware specifications, installation guides, application notes, and other forms of

support that induce their customers and/or end users to directly infringe Plaintiff’s patents, and

that users will necessarily infringe when using these products in their intended way as described


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in Defendants’ documentation. FAC at ¶¶ 43, 62, 82, 104, 128, 153, 175, 197, 217, 242, 265, 289,

316, 341. Plaintiff provides examples of these documents, including citing six whitepapers,

manuals, and marketing materials of Defendants, showing infringement by Defendants’ products.

As these materials show the infringement of the underlying products, Defendants’ provision of the

same to their customers constitutes knowledge of their customers’ direct infringement. Similarly,

Defendants’ provision of these materials demonstrates their specific intent to infringe. The SAC

contains additional allegations directed to Defendants’ concerns.10

       The FAC also establishes Defendants’ knowledge of the patents. Paragraphs 37-38 allege

that Defendants “had actual knowledge of the [patents] gained in its own prosecution activities”

by citing six asserted patents, and ¶ 38 alleges that Defendants were served with complaints

alleging infringement of related patents as early as July of 2017. See also FAC at ¶¶ 36-39, 57-

58, 77-78, 99-100, 121-124, 148-149, 168-171, 190-193, 213, 237-238, 258-261, 282-285, 312,

and 337.

       The FAC further alleges that despite knowledge of Plaintiff’s patents, Defendants

continued to encourage their customers’ infringing use of the Accused Products. The FAC alleges

that users of the accused product will necessarily infringe when using the products in their intended

way and “Defendants know and intend that customers that purchase the [asserted patent’s]

Accused Products will use those products for their intended purpose.” FAC at ¶¶ 43, 62, 82, 104,

128, 153, 175, 197, 217, 242, 265, 289, 316, 341 (emphasis added). These pleadings clearly

establish allegations of Defendants’ knowledge of their customers’ inevitable infringement.




10
  The proposed SAC further identifies these materials and the origin of Defendants’ specific data
sheets. SAC at ¶¶ 77, 105, 136, 165, 198, 234, 295, 326, 352, 384, 415, 454, and 486.


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       Defendants’ knowledge that use of the Accused Products constitutes infringement and their

continued encouragement of such use is also sufficient to infer that Defendants had specific intent

to induce infringement. Crypto Research, LLC v. Assa Abloy, Inc., 236 F. Supp. 3d 671, 687

(E.D.N.Y. 2017); M2M, 2015 WL 4640400, at *4 (“general allegations of Defendants publishing

manuals and promotional literature [is] sufficient to plead Defendants’ specific intent.”).

       Fairchild Semiconductor Corp. v. Power Integrations, Inc., 935 F. Supp. 2d 772 (D. Del.

2013) is instructive. In Fairchild, this Court concluded that the patentee had met its burden to

sufficiently allege that the indirect infringer had knowledge that the induced acts constituted patent

infringement, where the patentee pled:

         For example, [the alleged indirect infringer] is aware that the infringing soft
         start circuit is a default feature of the controller products incorporating this
         circuit, that the standard circuit is always present and cannot be disabled by a
         purchaser of the controller and, therefore, that [the indirect infringer's]
         customers will infringe the [patent-in-suit] by using the default standard
         feature or by incorporating the infringing controller in other products, and that
         subsequent sales of such products would also be a direct infringement.

Id. at 778 (emphasis in original). Here, like Fairchild, the FAC alleges that Defendants’ customers

will necessarily infringe when using the respective accused products. In Fairchild, infringement

followed because the default feature was always present and could not be disabled; in the FAC,

use of the respective accused products necessarily infringes because the product itself infringes

when used and/or sold by Defendants’ customers.11



11
   Defendants’ citation to Vita-Mix is inapposite, as it concerns an accused product that could be
used in a non-infringing way. Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1328 (Fed.
Cir. 2009) (“Vita–Mix establishes that Basic knew of the patent, and argues that Basic knew of its
products' potentially infringing use, but goes no further.”). Because Vita-Mix’s accused product
had substantial non-infringing uses, intent could not be inferred. Id. Defendants’ accused
products, however, are alleged to necessarily infringe, and thus there is no question of Defendants’
intent here. FAC at ¶¶ 43, 62, 82, 104, 128, 153, 175, 197, 217, 242, 265, 289, 316, 341.
Defendants remaining supporting citations are inapposite for the same reason.


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 V.    WILLFUL INFRINGEMENT

       Defendants’ challenge of Plaintiff’s willful infringement allegations also improperly

focuses on the sufficiency of the proof, rather than the adequacy of the notice they provide.

       A.      PRE-SUIT KNOWLEDGE BASED ON PATENT PROSECUTION AND PRIOR
               LITIGATION

       The FAC adequately pleads in Counts 1, 5, 7, 8, 11 and 12 that Defendants had knowledge

of the patents-in-suit during the prosecution of their own patent portfolio and continued to engage

in infringing activity although Defendants knew (or should have known) that such activities

infringed.   FAC at ¶¶ 37-38, 122-123, 169-170, 191-192, 259-260, 283-284.               Defendants’

argument that foreign “prosecution activities” are insufficient to support knowledge for willfulness

is contrary to this Court’s precedent. KOM Software Inc. v. NetApp, Inc., No. 1:18-CV-00160-

RGA, 2018 WL 6167978, at *3 (D. Del. Nov. 26, 2018). In KOM Software, this court held that

knowledge of the patents-in-suit could be acquired during prosecution activities:

         Plaintiff alleges that NetApp obtained knowledge of the patents-in-suit during
         the prosecution of NetApp patents and has continued infringement despite that
         knowledge. NetApp argues that this allegation is untrue and therefore
         insufficient. However, NetApp’s factual argument is an inappropriate basis for
         granting a motion to dismiss. Thus, as I assume Plaintiff’s allegation of
         NetApp’s knowledge to be true, it has pled a sufficient willfulness claim.

Id. at *3. The SAC contains additional allegations directed to Defendants’ concerns.12

       Defendants’ argument that related litigation, i.e. litigation of a sister patent portfolio from

the same original assignor asserted against Defendants’ business enterprise (including

substantially the same Defendants), cannot support the requisite knowledge for willfulness is also

improper. Plaintiff’s allegations establish that Defendants would/should have investigated the



12
  The proposed SAC pleads that all Defendants are run and controlled by the same Managing
Board “CODM” and, therefore, each Defendant has knowledge of the acts of the others. SAC at
¶¶ 23-25.


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entire patent portfolio of the original assignor during this prior litigation—not just half of it.

Defendants’ challenge here goes to the weight of the evidence—a determination properly made in

a motion for summary judgment, not in a motion to dismiss. Twombly, 550 U.S. at 555-56

(“[W]here a complaint permits an inference that the defendant was on notice of the potential

infringement and still continued its infringement, the plaintiff has pled a plausible claim of willful

infringement.”) (emphasis added); Kyowa Hakka Bio, Co. v. Ajinomoto Co., No. 17-313-MSG,

2018 WL 834583, at *13 (D. Del. Feb. 12, 2018).13

          B.     POST-SUIT KNOWLEDGE BASED ON PLAINTIFF’S PRIOR COMPLAINT

          Ignoring this Court’s precedent, Defendants challenge Plaintiff’s allegations of knowledge

based on the original complaint. DOB at 11 - 12; DermaFocus, 201 F.Supp.3d at 473 (noting that

post-Halo, “mere notice of the charge of infringement gleaned from service of the complaint” is

sufficient for willful infringement claims to withstand a motion to dismiss); BlackBerry Ltd. v.

Nokia Corp., No. 17-00155-RGA, 2018 WL 1401330 (D. Del. May 20, 2018) (amended complaint

held sufficient to place Defendant on notice to support willful infringement at the motion to dismiss

stage).

          Defendants’ case law is distinguishable. In both Groove Digital and Valinge, this Court

held that Defendants did not have the requisite knowledge as of the date the willful infringement

claim was filed. Groove Digital, Inc. v. King.com, Ltd., No. 18-00836-RGA, 2018 WL 6168615,

at *3 (D. Del. Nov. 26, 2018) (“[T]o state a claim of willful infringement, the patentee must allege

facts in its pleading plausibly demonstrating that the accused infringer had committed subjective



13
   Defendants’ reliance on MONEC Holding AG v. Motorola Mobility, Inc., 897 F.Supp.2d 225,
234 (D. Del. 2012) is misplaced, as Plaintiff does not claim that Defendants’ knowledge is derived
from “the same market, media publicity, and unrelated litigation,” but from related litigation of
patents from the same assignor and subject matter.


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willful infringement as of the date of the filing of the willful infringement claim.”); see also

Valinge Innovation AB v. Halstead New England Corp., No. 16-1082-LPS, 2018 WL 2411218, at

*10-12 (D. Del. May 29, 2018). Here, Defendants’ knowledge of the asserted patents and

infringement allegations are based on the original complaint, filed November 2, 2018, and thus

predate the operative claim for willful infringement made in Plaintiff’s FAC, filed May 10, 2019.

FAC at ¶¶ 41, 60, 80, 102, 126, 151, 173, 195, 215, 240, 263, 287, 314, 339 (citing knowledge as

of the original complaint). The original complaint provided great detail of the asserted claims and

the alleged infringement on an element-by-element basis. D.I. 1 at ¶¶ 30-34, 48-54, 69-73, 87-95,

110-117, 136-143, 156-162, 178-183, 199-205, 220-229, 243-249, 264-272, 292-301, 319-326.

Thus, Plaintiff’s allegations go well beyond simply alleging that “Defendants have actual

knowledge of the [asserted] Patent at least as of service of this Complaint.” DOB at 11.

       Defendants’ citation to Callwave Comm’s LLC v. AT&T Mobility LLC, No. 12-01701-

RGA, 2014 WL 5363741 (D. Del. Jan. 28, 2014) is also inapposite, as it was implicitly overruled

by the Federal Circuit decision in Mentor Graphics Corp. v. EVE–USA, Inc., 851 F.3d 1275 (Fed.

Cir. 2017). Id. (holding that an original complaint can support willfulness allegations in an

amended complaint). Mentor Graphics was examined by this Court in detail in Valinge, and the

approach was adopted in Groove Digital. See Valinge, 2018 WL 2411218, at *10-11 and Groove

Digital, 2018 WL 6168615, at *2. The FAC therefore properly pleads post-suit willfulness after

the filing of the original complaint (Nov. 2, 2018).

VI.    ENTITY SPECIFIC ALLEGATIONS

       A.      LEGAL STANDARD

       Pleadings should generally indicate both the entity accused of infringement and the alleged

act. M2M, 2015 WL 4640400, at *6-7. In M2M, this Court dismissed allegations of direct and




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indirect infringement because both the parent and subsidiary were jointly called “Telit” and it was

unclear whether the allegations were directed to the parent, the subsidiary, or to both. Id.

         However, infringement can be plead jointly against related entities when a plaintiff cannot

reasonably be expected to separate defendants’ conduct. Acantha LLC v. Depuy Synthes Sales,

Inc., No. 15-1257, 2016 WL 8201781, at *2 (E.D. Wis. July 28, 2016) (“Plaintiff need not

extensively elaborate on the details of each individual defendant to comply with Rule 8.”).

Because Rule 8 does not require a heightened pleading standard for patent infringement actions,

when the “activity of the multiple defendants is so intertwined that no one from the outside could

possibly separate the different subsidiaries’ alleged infringing conduct,” allegations against the

collective group of all “Defendants” is appropriate. Id. Thus, “a complaint that collectively refers

to ‘defendants’ meets Rule 8’s pleading standard if ‘it can be reasonably inferred that each and

every allegation is made against each individual defendant.’” Groove Digital, 2018 WL 6168615,

at *3.

         B.     THE FAC IDENTIFIES EACH OSRAM DEFENDANT’S ROLE IN THE ALLEGED
                INFRINGEMENT

         Defendants also argue that Plaintiff’s claims fail for neglecting to specify which of the 8

Defendants induced the infringement. DOB at 2, 8, 11. Defendants are incorrect. Plaintiff has

pled upon information and belief the role that each separate entity played in the alleged

infringement. FAC at ¶¶ 5-12. Such specific entity-level pleading is precisely the type of factual

allegations that this Court, in Groove Digital, upheld as sufficient under Rule 8. Groove Digital,

2018 WL 6168615, at *3 (holding allegations using “King” to allege conduct against three related

entities proper because “Plaintiff specifically identifies Defendant King.com, Ltd. as committing

certain allegedly infringing acts… goes on to allege specific acts of Defendants King.com, Inc.




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and King.com (U.S.), LLC… [and the] factual allegations are sufficient to support an inference

that all three King Defendants engaged in the alleged infringing conduct.”) (emphasis added).

       Defendants’ reliance on M2M and Chalumeau is misplaced. Unlike the pleadings in M2M

where it was unclear which Telit entity was accused of any given act of infringement, the FAC

makes absolutely clear that all Defendants are accused of all of the infringing acts—akin to Groove

Digital rather than M2M. The FAC specifically accuses each individual defendant of selling the

Accused Products or having a sales office in the U.S. FAC at ¶¶ 5-12. Plaintiff further accuses

each Defendant of all counts of infringement. See, e.g., FAC at ¶ 13 (“Defendant entities are

related entities under the OSRAM brand and infringe the Asserted Patents by substantially the

same products in the same way.”) (emphasis added). Similarly, in Chalumeau, this Court noted

that “[t]he connection between the moving defendants and the patent applications from nearly a

decade ago are not explained sufficiently to make plausible that either of the defendants had actual

knowledge.” Chalumeau Power Sys. LLC v. Alcatel–Lucent, C.A. No. 11-1175-RGA, 2012 WL

6968938, at *1 (D. Del. July 18, 2012). The FAC however specifically makes allegations against

all Defendants jointly: “Defendants and/or closely-related affiliates have further had actual

knowledge of the [asserted] Patent family, gained in its own prosecution activities.” FAC at ¶¶

37, 122, 169, 191, 259, 283. The FAC thereby alleges the requisite knowledge of all Defendants

operating jointly as under the rule of Acantha. Acantha, 2016 WL 8201781, at *2. Without this

rule, any defendant could avoid “knowledge” by delegating patent prosecution activities to a

subsidiary. The SAC contains additional allegations directed to Defendants’ concerns.14




14
  The proposed SAC pleads that all Defendants are run and controlled by the same Managing
Board “CODM” and, therefore, each defendant has knowledge of the acts of the others. SAC at
¶¶ 23-25.


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       The FAC satisfies Rule 8 as “it can be reasonably inferred that each and every allegation

is made against each individual defendant.” Groove Digital, 2018 WL 6168615, at *3. The FAC

also sufficiently provides all Defendants notice of the nature of the relevant claim and conduct.

Adobe Sys. Inc. v. Blue Source Grp., Inc., No. 14-2147, 2015 WL 5118509, at *10 (N.D. Cal. Aug.

31, 2015); see also Nestle Purina PetCare Co. v. Blue Buffalo Co. Ltd., No. 14-859, 2015 WL

1782661, at *9 (E.D. Mo. Apr. 20, 2015) (grouping defendants was proper where identical claims

were brought against each); Hudak v. Berkley Grp., Inc., No. 13-89, 2014 WL 35466, at *4 (D.

Conn. Jan. 23, 2014) (“Nothing in Rule 8 prohibits collectively referring to multiple defendants

where the complaint alerts defendants that identical claims are asserted against each.”).

       The proposed SAC pleads additional facts that further support the liability of each

defendant, individually and jointly, for all acts of infringement.15 The proposed SAC further

alleges facts that demonstrate that the OSRAM entities are inextricably intertwined and that

support piercing the corporate veil based on both agency and alter ego theories.16 Defendants

conduct business under a common name, are managed centrally by OSRAM Licht AG, submit

combined financial and management reports, share high-level officers, and present themselves as

a unified single business entity.17 Having held itself to the public as such, it would be unjust to

permit OSRAM to assert a separate corporate structure to evade liability.

       Infringement by related entities can be plead jointly under either a parent-subsidiary agency

relationship, or a ‘joint business enterprise’ theory. For the former, “to state a claim based on an

alleged parent-subsidiary relationship, a plaintiff would have to allege (1) the existence of a parent-

subsidiary relationship, and (2) facts that justify piercing the corporate veil.” M2M, 2015 WL



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   SAC at ¶¶ 5, 75, 103, 134, 163, 196, 231, 261, 293, 324, 343, 350, 382, 413, 452, and 484.
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   SAC at ¶¶ 17-57.
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   SAC at ¶¶ 54.


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4640400, at *3. The second condition may be satisfied by the “existence of an agency relationship

between the entities where the parent effectively controls the conduct of the subsidiary.” Id;

StrikeForce Technologies, Inc. v. PhoneFactor, Inc. and First Midwest Bancorp, Inc., No. 13–

490–RGA–MPT, 2013 WL 6002850, at *4 (D. Del. Nov. 13, 2013).                   The proposed SAC

establishes joint pleading under the agency veil piercing theory because each of the OSRAM

defendants are subsidiaries of OSRAM Licht AG, and they are subject to the central management

and control of the “CODM” of OSRAM Licht AG in all of their “operating activities” including

specifically the infringing activities.18 The proposed SAC not only alleges sufficient facts to show

OSRAM Licht AG’s direction and control over its subsidiaries, but also that OSRAM Licht AG’s

direction and control is directly related to the alleged infringement of the accused LED products.

VII.      CONCLUSION

          For the reasons stated above, Defendants’ Motion should be denied in its entirety.



 Dated: June 28, 2019                               Respectfully Submitted,

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     SAC at ¶¶ 23-24, 57.


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